Case 6:24-mj-01419-EJK Document 1 Filed 04/22/24 Page 1 of 9 PageID 1




                                                   1419
Case 6:24-mj-01419-EJK Document 1 Filed 04/22/24 Page 2 of 9 PageID 2




                                                                 1419
Case 6:24-mj-01419-EJK Document 1 Filed 04/22/24 Page 3 of 9 PageID 3
Case 6:24-mj-01419-EJK Document 1 Filed 04/22/24 Page 4 of 9 PageID 4
Case 6:24-mj-01419-EJK Document 1 Filed 04/22/24 Page 5 of 9 PageID 5
Case 6:24-mj-01419-EJK Document 1 Filed 04/22/24 Page 6 of 9 PageID 6
Case 6:24-mj-01419-EJK Document 1 Filed 04/22/24 Page 7 of 9 PageID 7
Case 6:24-mj-01419-EJK Document 1 Filed 04/22/24 Page 8 of 9 PageID 8
Case 6:24-mj-01419-EJK Document 1 Filed 04/22/24 Page 9 of 9 PageID 9
